             Case 1:18-cr-10428-ADB Document 32 Filed 03/04/19 Page 1 of 2



                                     UNITED STATES DISTRICT COURT
                                      DISTRICT OF MASSACHUSETTS
CRIMINAL No.
18-10428-ADB
                                       UNITED STATES OF AMERICA
                                                    v.
                                   FRANKLIN FREDDY MEAVE VAZQUEZ
                                        INTERIM STATUS REPORT
                                              March 4, 2019
DEIN, M.J.
          An Interim Status Conference pursuant to the provisions of Local Rule 116.5(b) was scheduled to

be held before this court on March 4, 2019, but with the court’s consent the parties proceeded by way

of a Joint Memorandum. Based on that Memorandum, this court enters the following report and orders

to wit:

    1. The government recently completed its voluminous automatic discovery production. The
       defendant is in the process of reviewing the documents produced by the government to date.
       The date by which the defendant shall request additional documents shall be set at the next
       status conference.

    2. The government does not expect to produce additional discovery except in response to specific
       requests and in accordance with the Local Rules.

    3. The date for filing discovery and/or dispositive motions will be set at the next status conference.

    4. The government shall provide its expert disclosures no later than six (6) weeks before trial, and
       the defendant will provide his expert disclosures no more than three (3) weeks before trial.

    5. This court finds and concludes, pursuant to the provisions of 18 U.S.C. § 3161(h)(7)(A) and
       Section 5(b)(7)(B) of the Plan for Prompt Disposition of Criminal Cases in the United States
       District Court for the District of Massachusetts (Statement of Time Limits Adopted by the Court
       and Procedures for Implementing Them, Effective December 2008) that the defendant requires
       additional time for the preparation of an effective defense, including time for review of the
       evidence, preparation of motions, and consideration of alternatives concerning how best to
       proceed with this matter, and that the interests of justice outweighs the best interests of the
       public and the defendant for a trial within seventy days of the return of an indictment.
       Accordingly, it is hereby ordered that the Clerk of this Court enter excludable time for the period
       of March 4, 2019 through April 8, 2019, that being the period between the expiration of the last
       order of excludable time and the next status conference.
          Based upon the prior orders of the court dated November 20, 2018, January 7, 2019 and the
          order entered contemporaneously herewith, at the time of the Final Status Conference on April
      Case 1:18-cr-10428-ADB Document 32 Filed 03/04/19 Page 2 of 2



    8, 2019 there will be zero (0) days of non-excludable time under the Speedy Trial Act and
    seventy (70) days will remain under the Speedy Trial Act in which this case must be tried.
6. A Final Status Conference has been scheduled for April 8, 2019 at 10:00 a.m. Counsel for the
   respective parties shall file a Joint Memorandum before the close of business no less than
   THREE business days prior to that Status Conference.
7. It is too early to determine if a trial will be necessary. It is estimated that a trial would last two
   (2) weeks.
                                                 / s / Judith Gail Dein
                                               JUDITH GAIL DEIN
                                               UNITED STATES MAGISTRATE JUDGE




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